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                         Exhibit 2
TO UNITED STATES’ REPLY TO BPXP’S OPPOSITION TO MOTION IN LIMINE TO
PERMIT RELEVANT EVIDENCE CONCERNING BP P.L.C. AND ITS AFFILIATES
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Annual Report
and Form 20-F
2011




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Case 2:10-md-02179-CJB-DPC Document 12510-3 Filed 03/13/14 Page 3 of 11
          Case 2:10-md-02179-CJB-DPC Document 12510-3 Filed 03/13/14 Page 4 of 11




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Legal proceedings                                                                                t'"-..!tiM. ""'...., .... E~IS/I. ..... _ . -                     .-<1_ ...
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            Case 2:10-md-02179-CJB-DPC Document 12510-3 Filed 03/13/14 Page 5 of 11




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001", m c.m..-oo            .,,,,,,,,,t""".  C""""""" ~ ..               ....-t'"cIai 't~    """'-nt; ttu BP ho<; poid ~ re~ ., &Ie J-.od:.-.:, .. "",,"_ ' 0 in OI'A
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                              Case 2:10-md-02179-CJB-DPC Document 12510-3 Filed 03/13/14 Page 6 of 11



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           Case 2:10-md-02179-CJB-DPC Document 12510-3 Filed 03/13/14 Page 7 of 11




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          Case 2:10-md-02179-CJB-DPC Document 12510-3 Filed 03/13/14 Page 8 of 11




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           Case 2:10-md-02179-CJB-DPC Document 12510-3 Filed 03/13/14 Page 9 of 11




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r.o lor",", BP cttc.~ and 0_ _ '" oIogW _ I"" af to.. lIS                                      """,od" fl.I''''''' 20)0 in..-.. t:n """'''' 10 "'~ BP', "",,",",""", v.;th
Clooo Ai Act I~""; Oc~t""" 5;1 .. , ",J :..... tr ~ ,.. "',                                    Alt.-rtic  _ '.oJ_        ft....."'..,.; I.. " ' _ " "' _ _ >ad aI ' .. --.,. ~ t
IOSHA) ,,,,,,,,,-;,,,,,, '" " .. Toxo. U.,' ,. ' - " ~"' L '" lh. '-'.v,
                                 '·,.t'" t¥.                                                                                                  ""'.t<od
                                                                                               tt-.--r ,...,... t ...... I."" .... ... hu", 110.            t"'t I 1M\' 1110 0 ~ ~
:Kt()!; .xpiooa,..,.; 1\'0, No i .......                 ~
                                                   ,,,,,,.-itt ..              ,j              cmttbJt", ""'~" ~ to< ••",..f", 01 ,"- c~," om <Iorr.o\)e> tr. i:
8f',",,",J ~tc +.0 • . , . - _ ~ ...,.t"'''' ~ _" '0ITl' "'" 0'1d the                          .... ro..red If 'In{ "'"'" " . ,.-ted ",. E»:", 11>0< .noctAlo,wk. :r.O il>
0",,"_     """      ~_        t Mt t o.         00 ~     ",w,.<11 oct'oo
                                                                 00:                           eM'Il"f>. 'If'wl ""f<'l'<\ the c _~ '!l<"'l"s~
'V BI' ...".,,, , ~ . ctf , "', .,.; ctrec;or, . ~ P folod • '1"ction -" di,.-,.,jo, tho                 s:"'" '007.  _f,              R.\O~f ~ Ce<r-f.'."1 W _ f'Iic'f .... , .
_ _ """"" t~~ octm m, ,... to t 1< ~ i.dict:an Q1                     no   '6 ....             ' - - . ct!'.P. I,,, b<"" " ,,,oj . . . =o.f' ._tt 0\ ""'''''''''''' ~ w,ui"
2011. t r~ ,GUt ~""t"; BP', p .. " Iho j...-;,.jict"" and M--ri-'..-J <ho                      "'""", Lin tho LS ~"g >-f.>y 1O po<>oX' ",; "'"","'V "",Md by",""
:oct"" in l< ont ........ T... """'.1CIdor n,,      ~ Lho .... -_              .nd Lh.         ".,,_t ~ ..... . Tn. ,,·.jod.,. 01 h. ~ t. h. v. - . , ~ or
.~ -. poodle,;                                                                                 " ' _ ogoir... Atio." c If·~ f iolo , ""''-0 _fold ~ 1lOrl1OO', t".,.
         hMo.", and ",.."t:l(l)!;, '" ... "'" fron '" , ,,,·-,,,it oipo'''''                   w",cm., ~ ,U(" ",,,,,, '" 1"lemoi<YJol '-'<neit">!l 0/10 Re;'inMg

t_ . . .,"-
~ "oJ l.,. B~    ,,,,,,,, ,t,,,, """"")1 "", 16 fX.'.I " t~ . Prti<t'<Jo s..,.. cri:
. . t"" N«i1 !l<>po 01 A8"" s.--. IoqoI proc~ r..~\ed frmT
                 On 19 _ =7, BFM«1efe~ in::o
~w-t~ the [)oJ re~fllgtat"""" i«Ib. B?XA,', ~ '-v"';n.
-"""""'00""","_ of tCJe US V/otO! PoLt"" Coot", Act, IJdudod
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                                                                                               1920-'S46. p!,~ttfs ioe l.Oo 1-"""""; ~ t ol "'t ....
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                                                                                               " fed ""'- '''''''''''' Iood poIIint from Ouiltogo, _
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• -:c/m o! v.=".,.,..' "oo.t"". 0< 29 f.Ic_obo< 2OCJ!), , .". "                                ""_ .,,. ",,,,,..-..--.. ~ ..,c:i< ... ,,:......,j ...""''''' of - ' '''''''~"
'I'\" o"""',,,,:l6O boer... '" ",do '" ..,; p<oduood w ..... _               "",,,,,",,' ",,   _        ...... t of """. " ..... ,t _ _ _ "",t. """ ~~ ,.;ix.f", Ie<
"",-Lo . i ....... .-;,'" f'm,.     w'" "'"to " . , ;,t...-"" f'roco, ..... C""t ...
                                               7<)10, tn. Us ~ro«<"" on ....
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iiloJ. poti'""      "f_
" Pr~ ~, ,oJ ...... On 1] _
                            <fo t·~t ""'" '" """"_ BPM', proO.t"" "'-ood
',1 ......... ' ' '' H", ' ; ".-. ~""....n     wu, _ _",., of _
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... dt- . ._        ... d t.....-.tor. RPXA w.. in vioIoOoo cf I, ",±rotbn                     tho 'la'''''' =,      OO<.~
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ctJloJo("..,.· 0lf'M """.,..~ " .. pet_            ",n ~ry heo(lIg ,ho<                        TIC  ~        ct tho""    ~oct"",. AlIon;ic _X»:l W"""" thot.' "',
_,,~ t'" m7~lGII', U.S. O WictCo<xtioAoc"""",                                                  ,old ",kn ... ~ """"'," d<f..-.:l ouch octic<-.             '*""'-"'Y"";"""""'"
.~ .... , On 2] Dec.oot« 20' I, 11\0 Colrt " ... od , .l"ci.",,.-.j ifdo!'                     Lr.._, 0. "" L.< r ~"'" 01 _ .,. i, r..-.-.o". eon-,.J." L ~ , SP    _"hot
fro,.. thIt SPXA diJ ret IIio"'" tho _ " o' il> ...w.oo." _ ...... 1 ..                         ~ .. " """ of lh. . . low... " . 0" I .. ~,,-,,'. _ " , 1....-.;.1 P"'<tm T
~'""""', po:t"" ' ."d t. ,,,,,....         r,,,,                                                Iq.. di.,. ,~ I no: bo ,no ',, _
                                                8PXA', ..._ " "
           G_, ' 2 M.... loc<), • BP plc. 01-.. _         filod.  =1""'"                                  0.-. S More, 101 0, OSH!l ~....d akJ t~" . :0 Sf'. T,**, re ~ oory
'''''""",, ........ ....,.,,_ of 1..."" 1,,,,(,,~-,.,, ....... ~ _ , cf . potol-""             ~ vioIofcns of tr.            Pr""""   Sol.tv Monogecc_= S1><T<III;d. wlh
co." ot "" pJ.c. 0I-~, I!(lOinoI: BP pJ,o .. BPXA. 3P Ar>«ico, "'"                              p<f\OIlM c< 'I'Il"(>(mo>eI'f $3 en""', T,.,.. o-t __ , "'''" t o<i f'om ""
""'" ct-100r> cr no 00'1"""""", ",>eo:! 00 """,<00 rr.i>roprooon"'''-'''                        ~'!=t "" cco1ctOO ~_, to O Sf<A', Potroko .." f'-"fi"""Y Pc",,",,"
COf>O""'V the int~v cttho PIlli'loe Boy pip:lOn< """"'. ito ""-'t"""'"
00 6 AJ\JJ" 2OC6_ On 8 fe!>ru>ry 20'0, to.. f.jin" Cio'rui' Couct of Appoob
                                                                                               S"."       "",,"-,>Or< Not"",1 ~~'''''' p .~ 8P                   ?.-""""'"
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                                                                                               oo<,LooLod Lc. <iL"""", .00 Lo. m"U..- ~ W' '''''L~ ", ..de..., ... trio
~i>l B""'~ froo, , _                           ""'" ",,,", mu< L"'" "'''' ~.""-'               ","",. tho aSH R.vi.wem',,'....,., ,,-,".- .. 1012_
                             "lOt"",
...-..d -...-.: in .... l B/" ,           Lo "" ' ~' tho ~w""_ '"' :10 .....                              ., IlprillOC9, ':"'''''f.Abboll, .. · ... to<, fiod. U5 ___         A."'"
10", ti .. ~ r th Cb .. , ,,,,",, ;, RP', f"""" If.. u-.. fiIin<J af " t ,,,t ' ......._       ,' d ...."'~, .... "" ~?, ~ ..,..., tOo, ~p _ '''" f- "I '''l'''''0''','''';
_            • ",to , .... SEC rontoirir<) con,roctlJO ~ on , ho port ct                       ~,.. .. , ,,-t.m••'" i, COI1"Iedoo v.; t ~ it> ~e witt thooo
BI' _, rot, ""'·.",.., ....... t"" wll'ch vioIotod f--" soe.xitio, ~. TIk>                     "ogJaf"",. t¥ R q " I\>vo Me<=<\, -""""'t><ioo 10( tr.. A LIonL"
rr pole. ",",,,,,oiJor "'" ~IOO "" .~ cO/ ~ ~ '0"",,"" to wt-rlt                               "~..,.;         "n..- .,,>l.,",.BP;. L"" """' , "" oond""", ....." ' - ' "
8P 1Iod.     ""'w  motion to <ion\;u, """" ;......... Or'" Mo.", )(00,
.... U ~ tod Sto ... lio<;t • "'"" ' ..... ' _ ... oM.    porn_'" ond _ _ ,
                                                                              ,i'.,.At"""''''' ~
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                                                                                                                                      20m Abbott_:C
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rNlf!'(lIo"'"......," .. f'ru(f-<>e s.,-. Tho ~ .'" """,,0<\ cloin            domoge, """"'L.<'" t¥ the ........                       "..t . "d fl.!cr.
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rclr.eol"    "ro"".hM>oI-....   ~, a: noo~ , L                     _'hlt\>lO              ,""'c, L
                                                                                                 "" AI"',-
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                                                                                                                                          troblod.
foci,..,f'" foLr. to ""'l'IYwlh EPA', ..,. " •• ~""'" .:"         ,,," Lion., ?010, K.,....,.,             Food W. .... IIIlIt'" 100d on ...---_
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                                                                                                                                   SP An"",: R"""" MId rorM 2O-f "''''                    '""
        Case 2:10-md-02179-CJB-DPC Document 12510-3 Filed 03/13/14 Page 10 of 11




                                      co'" _,g '"
co~... ,t ~ 710 F'" C.....". Act ~""'" 'L               ""..<>OlOx .~fng                    On 17 May""1 1, ilP~""_bo!~. tl10 _ _ sr-..-.Swao
dow!1 Tie N"'t ~ ,..form , T ...     (\or' ' ' ' W'. ,><t<>n ., .... ,...                   A 7 _t.v1d 1tJo P<ctic Opport""'ty, r.:Qhoty ~ on 1~~
to. ~ ~ ~ '~11 ~1oIy, "''' ''                              Moe",  201 " ilOWR=              201 t t-.oci t"rrfi>te<i, Th'> torminoOOn "'" " • ~ t of flo ""~
~""~ '" """""'QoO:Ox ' ''PO'' <7 flo NJIx:.(t At""" • """"",,, ","d,                        r0( ,_", "..;,Ioct"", 0',_1""" prec.""'"      Mvir» .,-.pirM l ob ....- ng
00_            tt»t M< A'>bo!l', oIIe\;ot""" tM! At ... i, open.t"",. per~                  - . . . ' ."" ~ ~ I'orr tho itUrim <:<dol, ""0000 to oOO\<l_ Toeso ~to , m
loci., """""       to ai1co< ..v.--'/IPIl;:weo:! ~......, "'tlloU:""';t
.. oJ 'hoi. I.. . ~",,,• .boo, ..... .Jbmio~ano t1y BP" SOEMRE _ _
                                                                                            0''''''' didno'  oddr-. " th. 'l"_';"" 01 """'~ • . Of 00l BP ~ ".
                                                                                            Shor<I-~ "",----". Tho """"' 00 ~ ... , ",hi,,/, of. "",,:oct to
.. J"",<lou . Tr" ~   .""""!oJ "'      bogit1 00 1~ -,!:<1 20 l l
          ill' Product.' 'JS ,./j _ioo of•   ....,...,t" •  2001 ~ t
                                                                                            'h;t corM.ot_ty obi<Iom', .. 0 ono"'''
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_         \";!' tU EP,," h . t ,_ . . . . . . . , vio "",,", 01 ,ho CJ.A                    1~ "'" c;,.t ocf<:<lr5 .., T)'.rn<I<1, SiboOo, "JI'in" BF fIr,; . ... Ie·"..t""",t.
.rId ~ t"" of t ho              de<o_',    '""1"'omor,e. ' ''' ...... . A 2ffi!             L'rnjlOd oed SP o.l.e. ord '9!IirrttNO m he SP noMMtod ~
oo-..-.:lno<lt b'1>e dKree ,, ~, ,.. , ... ;,~ '''''o-d .. , ...... ox ...                  01 TB~. n-.o" two """".        OOVJ""      recover-"';>ed ~~ to TB~
                                                                                            01 $13 b:1on . 'Jd $2.7 -.-. •.,peoriwly. On 11 November 2011,
tho T. "" City ",I"..,. tr~, tho ~n t <7 " $1,-""", ~ >'I f ~.
• $Il<1' ..-on ~toI _-nemi prcio<:: rn ....... -.:ood eM                                    tho T".----, Cou" Oir;mjo«id t<'t1 , _~ I ~ .y 00 tMir men" __
""'",'. 100 ",(".< ...0' ..unoteoJ to coot ~'Tlftfy $150 ,," lion. The                      "'~ 'o <lono ~ 00-_            " ol tho .. <Ioe-""", ,,11\0 O_=< ~"
I .... no. t:-een poo:d. om B' prro...:l> i. i ~>-v ' ~ ofr", f"O~'"",,,                    oou'l. On 20l hor<Jory :1012, tho """",t. GOt-~ L¢<*l the Tl'...-rJro Coo~',
          On 30 Septerrt-er :1010. tU ~PA ,...:l SP Pr~ 'OO!)od'
oM! coo ..... "ocr.. "' t~ tllo lod«a: 00\Xt h Houston, ~,
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                                                                                            0 ,"" /Ippo/Ioto
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                                                                                                               ro.x' ...,••
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                                                                                                                             '''_t~ ooof.,,,,,,, tl>o TIU"'O" ro.xt of I" t
oWk "",,,,,,,,,,- .... ioJ. tho  1_       Wf "PP'~ t ~. ",ttlo",,", C<'.
30 ~ :I01a. Tho ;"". . ~ . ~ t <:no of eM I4oIot""" ~
                                                                                            ;,-"""",',(f"""'' '                                     BP
                                                                                                                    d- t.,. ~""'i, " , j" , " " ' " .   Re . ... " ....', _'L.
                                                                                            Lm !"".-.J "" p.. c. BP bo<iovn 'I .. ...... ' ''''' r->oo .... """"" ,-';'",,"'
to. ,,, ~ ......,..,_ pio.w'''' _ oI.<>n. ~ """" .oc! ...-.d« t"" eM. tho:                  me<'t. No "',., ~",.. """, ",,"' '''' ,--.;l BP --... tr "tort""" of tho
. ~ ~., M'" 00"''',.0 ~ 2004 ood                """ .t    If. T-. City ,.. i'*Y_            Gl<;mo 00", j tMotefy ",-"=,,,j ~ rerno:', ~W no , mo,",
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BP Pro:U::> hoo l"id no S' 5-<r*>n M'I per-.oIty...-.;1 t ~ T""", C.ty
'oIOx'l' is inl'~ing re~, lirem""" -;Q           en/".""""      "'P""""'0                           (l" 9 fobruory :1011, /\pooh< Conoo:lo Ltl (~h<! C ornFJe<'~
                                                                                            .., ~ ".oo" •.".,,,,, BP Cooodo E,.",,\/\,. ApJc'" ~ trot _,,'"
tllo EPA 'OQII'o-r,g r.r.p""",, u.-n .... ~ ~ """".,., """
 ""dotL ~ _ t Qo L <>n                                                                      proportio"'~"" . , ,_          d- wildt iL ' c',Ji<od d", .."" f, ,,~ BP c.~
        II" "'"     ",,,,,,,,.,_ L ~go"""" "'"         hi EP'>' hoi"" ~                     '-""'W .........,.."., flo "..,io.' p""".,,, .,o     Solo "",, _ _ t """,",I •
""', .. , . """"", 01 'ho • • p,n"to ~.uod b-,' tho "" .. '. [)q>ortment of                 )Sf 2010 wi' ,..,..,... _ , '0 ",,,,, tI· o P'.",.."">N'n "'" 00",,,10,,,,.
~""~ Moo_.t aDH/i k>- ~,_ ., tho llIhl n;, '.1 ......,.                                     ".,;" 'PI'- ~_ ... vtorrrnenlOl "" '~' """ ,'-porno d""" t,.t to. p"'.-r-. . .
., .• ~.., _                  - . , . ., h P .M "'" ,.........·oJ Lho poor"''' ' 'Jd        prico """'-<i<l '" ~ j,y -"         "'''''tt>J "",trI<
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" '1'01".0.; lor,.. ..... ., the EPA. SP", ,,
OEM rn =toio         ewir""""""_
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~t BP nlor",t_ ' U_V<f ~p
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prodr.>cti«1, ,./nino . ,)oj "'"', . , "" In Rv.';' .:". ""otic Oprxlrtun-!Y!
Tl'<l>e"''1>Oct_       ro.\do\d t ~ ~ ... "" " ",f.. of """'.. b<>l_
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Slwe Swop """".-..ntl, The WJ~ S·""t"" on ~ t ..., "'.., -' '''' ''',"
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'iMo >1 ........-'. Aol'--"'-' boN._ "'" porti«. The o·b'" t"'" """
OOCYr'. "oJ "''' ho ,,,.. '" • ......,."" w.. "," L ~ -"'" by ItJO .rt.lJ",,,,,,
~ .
         Case 2:10-md-02179-CJB-DPC Document 12510-3 Filed 03/13/14 Page 11 of 11




 Relationships with suppliers                                                       Share prices and listings
 and contractors                                                                    _kat.
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                                                                                                and ....... , .......
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 l _ ..............,'.                                                                      "I',
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 ,., h.. 000"..,',", "'" "'"'" ... ,...-_10 ",to '''''''''''-~ tr.<d po"" ~         Time, 8>xk F.c'w!go 100 I";"'. RP', ordinory """'"' ""'. "" 7Mod m
 .. """" cf It. 0"......"" "",_,. "'" "'V"I - . not oo,\oii" .,""..,.,;.,,-,        to. F.,.-,kflr. Stx, hcMr><Jo in G""'"""t',
 """" t ony of ",••• , "'"     """;e,,,
                                    -.ooe of ~ lIlT.....,..,..,," ""th ~ ore                  T'1Kte\l cI Sf', Yw" "" the lSE ~ pr"--"'~-<OC9'l the .,.., of
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.-d we oeok., ct 00""", ""th "'PP'''' 1""0 oct in .... ",'h IP~                     • mo.l00 "" . bt-y.oo 0 ... ooloi, Lf.. . .... I••         ,,,,,,told  ",oJ ... 'o,"' ''~
"""""~ " '~"'. ",)oj Olh;"" . . ",,!;nod ,., "'" cOO. of "~                         -""",oJ Lo [I", lSI:. Trto'x " I,     "",.""" ",.;1"""         "_00 ._". '" '.3J ,."". l~
W. ~ "";,h .....".... I, . v_V ,. """", , cl"'''O r~"'''''''''''                    tlmo or', ~ Mo .---t of • ~ """'"""'"t;,             -&.0."""          ><ico « the, "'''I,
 ,......., c _~ ., ....Ift' ,,",... !>po   n....,,-,,,,,, "'.,.. to _'<""'"         ' he L,'>!: "'"'I "'1'''''' • t ..,.."....." , ... " 1t>o t' -·iI of tt-.ot""_"I'{'
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